                          Case 18-10512-CSS             Doc 8      Filed 03/12/18        Page 1 of 18



                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                                     )
         In re:                                                      )
                                                                     )      Chapter 11
         Zohar III, Corp., et al.,1                                  )
                                                                     )      Case No. 18-10512 (CSS)
                                             Debtors.                )
                                                                     )      Joint Administration Requested
                                                                     )
                                                                     )      Hearing Date: To be determined
                                                                     )      Objection Deadline: To be determined


          DEBTORS’ MOTION FOR ENTRY OF AN ORDER, PURSUANT TO SECTIONS 105(a)
          AND 365(a) OF THE BANKRUPTCY CODE, (A) AUTHORIZING THE DEBTORS TO
           REJECT THE COLLATERAL MANAGEMENT AGREEMENTS WITH ALVAREZ &
            MARSAL ZOHAR MANAGEMENT, LLC, NUNC PRO TUNC TO THE PETITION
             DATE, (B) GRANTING RELIEF WITH RESPECT TO THE CESSATION AND
              TRANSITION OF SERVICES UNDER THE COLLATERAL MANAGEMENT
                      AGREEMENTS, AND (C) GRANTING RELATED RELIEF

                  Zohar CDO 2003-1, Limited (“Zohar I”), Zohar II 2005-1, Limited (“Zohar II”), Zohar

         III, Limited (“Zohar III,” and together with Zohar I and Zohar II, the “Zohar Funds”), Zohar

         CDO 2003-1, Corp. (“Zohar I Corp.”), Zohar II 2005-1, Corp. (“Zohar II Corp.”) and Zohar III,

         Corp. (“Zohar III Corp.,” and together with Zohar I Corp. and Zohar II Corp., the “Zohar Corps,”

         and collectively with the Zohar Funds, the “Debtors”), the debtors and debtors in possession in

         the above-captioned cases, hereby submit this motion (this “Motion”) for the entry of an order,

         substantially in the form attached hereto as Exhibit A (the “Proposed Order”), pursuant to

         sections 105(a) and 365(a) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

         (the “Bankruptcy Code”) and Rule 6006 of the Federal Rules of Bankruptcy Procedure

         (the “Bankruptcy Rules”), (i) authorizing the Debtors to reject the Collateral Management
         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 350
         Fifth Avenue, c/o Goldin Associates, LLC, New York, NY 10118.


01:22963161.4
                           Case 18-10512-CSS            Doc 8        Filed 03/12/18    Page 2 of 18



         Agreements (as defined below), nunc pro tunc to the Petition Date (as defined below),

         (ii) directing Alvarez & Marsal Zohar Management, LLC (“AMZM”), in its capacity as the

         respective collateral manager under each Collateral Management Agreement (in each instance a

         “Collateral Manager”), to (A) cease exercising any rights with respect to property of the Debtors

         or their estates under the respective Collateral Management Agreement, (B) return all of the

         Debtors’ books and records to the Debtors, and (C) execute and deliver all instruments and

         documents, and take such other actions as may be necessary or appropriate, as requested by the

         Debtors, to implement and effectuate the relief requested in this Motion, and (iii) granting such

         other and further relief that is necessary. In support of this Motion, the Debtors respectfully state

         as follows:

                                              PRELIMINARY STATEMENT2

                   The Collateral Management Agreements conflict with the express terms and purposes of

         fundamental sections of the Bankruptcy Code, as well as a fundamental goal of the Chapter 11

         process—maximizing the value of the estate’s assets for the benefit of all stakeholders.

         Accordingly, these Agreements should be rejected so that the Debtors can maximize value in

         these Chapter 11 cases, and to avoid any question about the Debtors’ ability to discharge their

         fiduciary duties to the estate in doing so. Specifically, the Collateral Management Agreements

         provide that the Collateral Managers purport to have the power to, among other things, determine

         the “restructuring, exchange, holding, and disposition” of the respective Zohar Funds’ property,3

         as well as to “make determinations with respect to the exercise or enforcement of any and all

         rights … or remedies in connection with the [Zohar Funds’ property] and participating in the

         2
           Capitalized terms used but not otherwise defined in this Preliminary Statement shall have the meaning given to
         such terms below.
         3
             See § 2.2(a) of each Collateral Management Agreement.


01:22963161.4
                                                                 2
                           Case 18-10512-CSS            Doc 8        Filed 03/12/18    Page 3 of 18



         committees (official or otherwise) or other groups formed by creditors of a Debt Issuer.”4 Such

         provisions plainly conflict with sections of the Bankruptcy Code that: (i) prevent third parties

         from exercising control over property of the Debtors, see 11 U.S.C. § 362(a)(3) - (6); (ii) require

         the turn-over of property of the estate to the Debtors as debtors in possession, see 11 U.S.C.

         §§ 541-543; and (iii) vest the Debtors, as debtors in possession, with authority to maintain the

         property of their respective estates and operate their respective businesses post-petition, see 11

         U.S.C. §§ 1107, 1108, & 1115.5

                   In addition to their fundamental conflicts with the Bankruptcy Code, the Collateral

         Management Agreements are antithetical to one of the central tenets of the Bankruptcy Code—

         maximizing the value of the estate for the benefit of all stakeholders. Under the respective

         Indentures, the Collateral Managers consult with and take direction from the Controlling Party or

         Controlling Class, which represents only the senior-most tranches of each Debtor’s note

         issuance, and the Collateral Managers are only obligated to maximize value for the benefit of the

         Zohar Funds’ noteholders. The Collateral Manager, therefore, is not obligated to act in the

         interest of other stakeholders in the Debtors’ estates and does not consult with junior tranches of

         debt or the residual equity holders in the Zohar Funds’ structure. Given the mandates of the

         Collateral Management Agreements, allowing the Collateral Managers to retain control (or even

         colorable authority) over any, not to mention the entirety, of the Debtors’ assets would frustrate

         the purposes of the Bankruptcy Code generally and these Chapter 11 cases specifically, which

         are to maximize the value of the Debtors’ estates for the benefit of all stakeholders.



         4
             See § 2.2(c) of each Collateral Management Agreement.
         5
           Additionally, AMZM commenced a number of actions on behalf of the Zohar Funds prior to the Petition Date.
         These matters are stayed by virtue of section 362 of the Bankruptcy Code. Following the Petition Date, the Zohar
         Funds, and not AMZM, is the sole party with standing to exercise the rights of the Zohar Funds in these actions.

01:22963161.4
                                                                 3
                            Case 18-10512-CSS             Doc 8        Filed 03/12/18   Page 4 of 18



                   A sound business purpose also supports the rejection of the Collateral Management

         Agreements. At the Debtors’ inception, each Zohar Fund’s collateral manager was expected to

         be an active manager of the respective Zohar Fund’s collateral, including by extending new loans

         or providing incremental funding to existing borrowers and engaging in negotiations regarding

         the capital structure of the Portfolio Companies.6 There is minimal (if any) need for those

         services from AMZM, as the Collateral Managers, going forward. The reinvestment period for

         Zohar I, Zohar II and Zohar III expired in 2008, 2010, and 2012, respectively. Thus, the current

         Collateral Managers did not acquire assets or originate loans. At this point, the only role for the

         Collateral Manager is participation in monetization, which will be assumed and absorbed by the

         Chief Restructuring Officer.           A number of the Portfolio Companies are in the process of

         marketing their assets for sale and/or refinancing and are, or will be, in the process of retaining

         their own investment bankers for that purpose. The management and governing bodies of those

         Portfolio Companies will negotiate with buyers or lenders and ultimately present a sale or

         refinancing transaction for approval to the Portfolio Companies’ governing bodies and, where

         necessary, its equity holders and secured lenders. Where the Debtors’ interests are involved, the

         Debtors’ Chief Restructuring Officer and his team can adequately evaluate these options and will

         make an appropriate case to the Debtors’ stakeholders and (where necessary) the Court for

         approval of the proposed transaction.7 Moreover, the Chief Restructuring Officer will oversee a

         Reporting Protocol pursuant to which stakeholders and the Court will be apprised of, among

         other things, the status of the Debtors’ assets and the sale or refinancing process at the Portfolio




         6
             None of the Portfolio Companies are debtors in these Chapter 11 cases.


01:22963161.4
                                                                   4
                          Case 18-10512-CSS             Doc 8        Filed 03/12/18      Page 5 of 18



         Companies. In light of this, the Collateral Managers will be superfluous—and would burden the

         Debtors and their estates with a substantial and unnecessary expense.

                 Lastly, the Debtors submit that rejection of the Collateral Management Agreements will

         remove impediments to the sale and refinancing process contemplated for the Portfolio

         Companies. Extensive pre-petition litigation has been waged over whether actions that the prior

         collateral managers (the Patriarch Collateral Managers) and AMZM, as the current Collateral

         Managers, took on behalf of the Zohar Funds were valid. The cloud cast by these disputes has

         hampered pre-petition efforts to market and sell or refinance the Portfolio Companies. While the

         Debtors believe that the clear statutory framework of the Bankruptcy Code should remove these

         issues, any lingering confusion, uncertainty or unease of potential buyers or lenders regarding the

         authority of the Collateral Managers will be resolved by granting the relief requested herein—

         rejecting the Collateral Management Agreements and directing AMZM to stand-down as

         Collateral Manager.

                 Accordingly, the Collateral Management Agreements should be rejected and the related

         relief requested herein should be granted.

                                              JURISDICTION AND VENUE

                 1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

         1334, and the Amended Standing Order of Reference from the United States District Court for

         the District of Delaware, dated as of February 29, 2012. This is a core proceeding pursuant to 28

         U.S.C. § 157(b)(2) and, pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a

         final order by the Court in connection with this Motion to the extent it is later determined that the



         7
          The Debtors are preparing a process with respect to the marketing and sale or refinance of the Debtors’ assets and
         will apprise the Court and the Debtors’ stakeholders of the proposed process in short order.

01:22963161.4
                                                                 5
                         Case 18-10512-CSS           Doc 8       Filed 03/12/18    Page 6 of 18



         Court, absent consent of the parties, cannot enter final orders or judgments in connection

         herewith consistent with Article III of the United States Constitution.

                 2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                 3.      The predicates for the relief sought herein are sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rule 6006.

                                                    BACKGROUND

         A.      General Background

                 4.      On March 11, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for

         relief under Chapter 11 of the Bankruptcy Code. Contemporaneously with the filing of this

         Motion, the Debtors moved for joint administration of their Chapter 11 cases, for procedural

         purposes only, pursuant to Bankruptcy Rule 1015(b).

                 5.      No request for the appointment of a trustee or examiner has been made in these

         Chapter 11 cases, and no official committees have been appointed pursuant to section 1102 of

         the Bankruptcy Code.

                 6.      General information about the Debtors and the events leading up to the Petition

         Date can be found in the Declaration of Marc S. Kirschner in Support of Chapter 11 Petitions

         [Docket No. 6] (the “Kirschner Declaration”) and the Declaration of Lynn Tilton in Support of

         Chapter 11 Petitions [Docket No. 5] (the “Tilton Declaration”), each filed on March 12, 2018.8

         B.      The CLO Funds, the Zohar Indentures, and Collateral Management Agreements

                 7.      Each of the Zohar Funds is a collateralized loan obligation fund (a “CLO”)

         organized under the laws of the Cayman Islands. Broadly speaking, a CLO is a special purpose

         vehicle that issues notes to investors in exchange for cash; that cash is predominantly used to
         8
          Capitalized terms used but not otherwise defined herein shall have the meaning given to such terms in the
         Kirschner and Tilton Declarations.


01:22963161.4
                                                             6
                        Case 18-10512-CSS         Doc 8       Filed 03/12/18   Page 7 of 18



         invest in loans, which, in turn, generate cash to pay back the CLO’s lenders over time with

         interest. The operation of the CLO and the various rights and obligations of the parties are

         typically governed by a comprehensive indenture and certain related agreements. Under a

         typical CLO structure, a CLO fund also contracts with a “collateral manager” to, among other

         things, monitor and manage assets for the benefit of the CLO fund and its stakeholders in

         exchange for fees. The Zohar Funds were actively managed and, consequently, their collateral

         managers were also charged with selecting assets in which to invest. As of March 2016, when

         AMZM became the Collateral Manager of each of the Zohar Funds, those activities were no

         longer necessary because the reinvestment period for all Funds had ended.

                8.      As discussed more fully in the Kirschner and Tilton Declarations, the three Zohar

         Funds are each party to an indenture and certain related agreements, including their respective

         Collateral Management Agreements (defined below). The Zohar Funds’ indentures include

         covenants regarding (a) acquiring, managing and disposing of the Zohar Funds’ assets (e.g., cash

         flows from loan receivables and cash flows from refinancing or sales of Portfolio Companies),

         (b) issuing the Zohar Notes and Zohar Preference Shares in accordance with the Zohar Funds’

         indentures and/or applicable entity governance documents, (c) pledging the Zohar Funds’ assets

         as collateral securing their obligations under the respective Zohar Notes, and (d) other activities

         incidental to accomplishing (a) through (c).

                9.      As set forth more fully in the Kirschner and Tilton Declarations, until March

         2016, certain affiliates of Patriarch Partners, LLC—namely, Patriarch VIII, Patriarch XIV, and

         Patriarch XV (collectively, the “Patriarch Collateral Managers”)—were the collateral managers

         of Zohar I, Zohar II and Zohar III, respectively, under the then-applicable collateral management




01:22963161.4
                                                          7
                           Case 18-10512-CSS               Doc 8        Filed 03/12/18        Page 8 of 18



         agreements. The Patriarch Collateral Managers9 voluntarily resigned as collateral managers in

         February of 2016, effective on March 3, 2016, when AMZM was engaged as the replacement

         Collateral Managers pursuant to new collateral management agreements executed on that date,

         by and among each of the separate Zohar Funds (and their respective non-debtor Zohar LLC

         affiliates) and AMZM (collectively, the “Collateral Management Agreements”).

                  10.      Section 14.1 of each of the Zohar Funds’ indentures provides that the Zohar

         Funds (and their respective non-debtor Zohar LLC affiliates) assigned their “right, title and

         interest” in the respective Collateral Management Agreements to the Indenture Trustee as part of

         the collateral securing the Notes. Section 14.2 of the indentures, however, provides for the

         respective Zohar Fund and its respective non-debtor Zohar LLC affiliates to retain their

         obligations under the Collateral Management Agreements and expressly provides that such

         obligations cannot be imposed on the Trustees under the indentures.10

                  11.      At the time of formation of the Zohar Funds, their collateral managers were

         engaged in the active management of the Zohar Funds’ investment portfolios, including by:

         buying and selling the assets that would be held by the Zohar Funds; monitoring the Portfolio

         Companies to assist them in repaying the Zohar loans; extending credit or providing incremental

         funding to existing borrowers, as necessary and appropriate; and engaging in negotiations

         regarding the capital structure of any of the Portfolio Companies to which the Zohar Funds




         9
           The Patriarch Collateral Managers are controlled by Lynn Tilton, who is the sole director and the indirect
         controlling shareholder of the Debtors.
         10
            Consistent with this, section 5.6 of each of the Collateral Management Agreements provides that certain
         provisions, including, but not limited to, those related to the Zohar Funds’ and their non-debtor affiliates’ obligations
         with respect to payment of AMZM’s fees for services provided under the Collateral Management Agreements, and
         to indemnify AMZM in its capacity as Collateral Manager, and AMZM’s obligation to maintain confidentiality,
         survived assignment.


01:22963161.4
                                                                    8
                            Case 18-10512-CSS             Doc 8        Filed 03/12/18   Page 9 of 18



         lent.11 As of March 2016, when AMZM became of the Collateral Manager, those activities were

         no longer necessary because the reinvestment period for all Funds had ended.

         C.         Compensation under the Collateral Management Agreements

                    12.      The Collateral Managers are entitled to receive as compensation: (a) a “Base Fee”

         calculated as the product of time spent performing its duties under the Collateral Management

         Agreements multiplied by its standard hourly rates; (b) reimbursement from the Zohar Funds for

         all costs and expenses incurred in connection with the Collateral Management Agreements,

         including, but not limited to, expenses incurred to employ outside attorneys, accounts, and

         consultants and other professionals; and (c) potentially, certain incentive fees and any other

         unspecified amounts as may be approved in writing by the Controlling Party. See, generally,

         Collateral Management Agreements at section 4.1 & 4.2. Additional amounts may become

         payable to the Collateral Managers as well.

         D.         The Current Status of the Portfolio Companies, the Zohar Funds’ Activities, and the
                    Proposed Reporting Protocol

                    13.      As of the date hereof, because the reinvestment period has long ended, there is no

         cash in the Zohar Funds to invest in new or existing loans, and the primary focus at all levels is

         the maximization of value. Certain of the Portfolio Companies, individually, are in the process

         of marketing their assets or refinancing. As such, the only remaining function of the Collateral

         Managers appears to be monitoring the Debtors’ investments for the benefit of the noteholders

         under the Indenture. Yet the Zohar Funds continue to incur substantial fees to the Collateral

         Managers under the Collateral Management Agreements.




         11
              See, generally, § 2.2 of each Collateral Management Agreement.


01:22963161.4
                                                                   9
                       Case 18-10512-CSS           Doc 8     Filed 03/12/18    Page 10 of 18



                14.      The Debtors have recently appointed a Chief Restructuring Officer who, with his

         team, will provide both (a) oversight of this Portfolio Company–level marketing and refinancing

         processes on behalf of the Debtors and the Debtors’ stakeholders, commensurate with the

         Debtors’ interests in the Portfolio Companies, and (b) report to the Court and other stakeholders

         regarding the conduct of this process. In fact, the Debtors are filing a motion to approve a

         proposed “Reporting Protocol” under which this reporting and information sharing will be

         accomplished.

                                               RELIEF REQUESTED

                15.      By this Motion, the Debtors request the Court to enter the Proposed Order,

         (i) authorizing the Debtors’ rejection of the Collateral Management Agreements, nunc pro tunc

         to the Petition Date, (ii) directing AMZM to (A) cease exercising any rights with respect to

         property of the Debtors or their estates under the respective Collateral Management Agreement,

         (B) return all of the Debtors’ books and records to the Debtors, and (C) execute and deliver all

         instruments and documents, and take such other actions as may be necessary or appropriate, as

         requested by the Debtors, to implement and effectuate the relief granted by the Proposed Order

         and (iii) granting such other and further relief that is necessary.

                                                BASIS FOR RELIEF

         A.     The Debtors Have Exercised Sound Business Judgment in Determining to Reject the
                Collateral Management Agreements.

                16.      An executory contract is “a contract under which the obligation of both the

         bankrupt and the other party to the contract are so far unperformed that the failure of either to

         complete performance would constitute a material breach excusing performance of the other.”

         Enter. Energy Corp. v. United States (In re Columbia Gas Sys.), 50 F.3d 233, 239 (3d Cir. 1995)

         (quoting Sharon Steel Corp. v. Nat'l Fuel Gas Distrib. Corp., 872 F.2d 36, 39 (3d Cir. 1989)); In

01:22963161.4
                                                           10
                       Case 18-10512-CSS         Doc 8    Filed 03/12/18     Page 11 of 18



         re Safety-Kleen Corp., 410 B.R. 164, 167 (Bankr. D. Del. 2009). As noted above, material

         obligations of both the Debtors and AMZM exist under the Collateral Management Agreements

         and, therefore, the contracts are executory and may be rejected.

                17.     Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

         possession “subject to the court’s approval, may assume or reject any executory contract or

         unexpired lease of the debtor.”     11 U.S.C. § 365(a).      “The purpose behind allowing the

         assumption or rejection of executory contracts is to permit the trustee or debtor-in-possession to

         use valuable property of the estate and to ‘renounce title to and abandon burdensome property.’”

         Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095,

         1098 (2d Cir. 1993) (quoting 2 COLLIER ON BANKRUPTCY ¶ 365.01[1] (15th ed. 1993)).

                18.     The standard applied to determine whether the rejection of a contract or an

         unexpired lease should be authorized is the “business judgment” standard.              See In re

         AbitibiBowater Inc., 418 BR 815 (unpaginated) (Bankr. D. Del. Oct. 27, 2009) (A debtor’s

         decision to assume or reject an executory contract will stand so long as “a reasonable business

         person would make a similar decision under similar circumstances.”); In re HQ Global Holdings,

         Inc., 290 B.R. 507, 511 (Bankr. D. Del. 2003) (stating a debtor’s decision to reject an executory

         contract is governed by the business judgment standard and can only be overturned if the

         decision was the product of bad faith, whim, or caprice). Indeed, “the sole issue is whether the

         rejection benefits the estate.” In re HQ Global, 290 B.R. at 511.

                19.     Generally, courts defer to a debtor in possession’s business judgment to reject an

         executory contract or lease. See N.L.R.B. v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984);

         Control Data Corp. v. Zelman (In re Minges), 602 F.2d 38, 42-43 (2d Cir. 1979); In re Riodizio,

         Inc., 204 B.R. 417, 424-25 (Bankr. S.D.N.Y. 1997); In re G Survivor Corp., 171 B.R. 755, 757


01:22963161.4
                                                         11
                       Case 18-10512-CSS         Doc 8    Filed 03/12/18     Page 12 of 18



         (Bankr. S.D.N.Y. 1994); see, e.g., Westbury Real Estate Ventures, Inc. v. Bradlees, Inc. (In re

         Bradlees Stores, Inc.), 194 B.R. 555, 558 n.1 (Bankr. S.D.N.Y. 1996); Summit Land Co. v. Allen

         (In re Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (holding that, absent

         extraordinary circumstances, court approval of a debtor’s decision to assume or reject an

         executory contract “should be granted as a matter of course”).

                20.     Here, the Debtors’ determination to reject the Collateral Management Agreements

         is supported by a sound business purpose. As noted above, the services provided by AMZM

         under the Collateral Management Agreements are not necessary in these Chapter 11 cases. A

         number of the Portfolio Companies (none of which are Debtors) are in the process of marketing

         their assets for sale or in the process of investigating refinancing options, and they will retain

         their own investment bankers.      The management and governing bodies of those Portfolio

         Companies will negotiate with buyers and ultimately present any negotiated sale transaction to

         obtain any necessary approvals. In the Chapter 11 cases, the Debtors’ Chief Restructuring

         Officer will manage the process of evaluating these transactions on behalf of the Debtors and

         will report to the Court and the Debtors’ stakeholders regarding the transactions as they develop,

         in accordance with the Reporting Protocol the Debtors intend to submit to this Court for

         approval. The Chief Restructuring Officer will also seek any approvals from this Court that may

         be necessary if the Debtors are required to consent to or approve any transaction at the Portfolio

         Company–level.

                21.     Retaining the Collateral Managers during the Chapter 11 cases would also burden

         the estate with the costs of the professionals at AMZM that are providing the services as

         Collateral Managers (and other amounts that may be payable to them). The work done by

         AMZM would be wholly, if not entirely, redundant in form and substance to the work that the


01:22963161.4
                                                         12
                         Case 18-10512-CSS              Doc 8       Filed 03/12/18        Page 13 of 18



         Chief Restructuring Officer and his team will be performing in discharging their duties as estate

         fiduciaries and the work that will be done in the underlying sale process that will be conducted at

         the Portfolio Companies. One of the basic questions in assessing whether a sound business

         purpose supports the rejection of a contract is whether rejection will free the estate of

         burdensome obligations. See Orion Pictures, 4 F.3d at 1098. Given the redundancy in the

         services that AMZM would be performing, compensating AMZM from the proceeds of the

         Zohar Funds assets would be an unnecessary and burdensome obligation on the estate.12 This is

         particularly so in light of the fact that the services AMZM contracted to provide conflict with the

         provisions and purposes of the Bankruptcy Code, as discussed below and, under the facts and

         circumstances, would seemingly be provided solely to satisfy the conditions under the Zohar

         Funds’ pre-petition indentures.

         B.      Allowing AMZM to Continue to Exercise Rights under the Collateral Management
                 Agreements Would Conflict with the Provisions and Purposes of the Bankruptcy
                 Code.

                 22.      Once a Chapter 11 case is commenced, the debtor, as debtor in possession, is

         vested with authority to maintain its respective estate’s property and operate its respective

         business post-petition, see 11 U.S.C. §§ 1107, 1108, & 1115. Further, the commencement of a

         Chapter 11 case, among other things, results in the following statutory impositions against third-

         parties that dealt with a debtor prior to the commencement of the case, among others: (i) a

         prohibition on exercising control over property of the estate, see 11 U.S.C. § 362(a)(3); (ii) a

         prohibition on the creation, perfection or enforcement of any lien against property of the estate,

         id § 362(a)(4); (iii) a prohibition on the creation, perfection, or enforcement against property of

         12
             The Chief Restructuring Officer and his team will be compensated by the Debtors. Further, since much of the
         residual equity value in the Portfolio Companies inures to the benefit of the Zohar Funds and their stakeholders, the
         costs and expenses of the marketing processes at the Portfolio Company-level are borne (albeit indirectly) by the
         Zohar Funds and their stakeholders.


01:22963161.4
                                                                 13
                           Case 18-10512-CSS             Doc 8     Filed 03/12/18   Page 14 of 18



         the debtor of any lien that secures a pre-petition claim, id § 362(a)(5); (iv) a prohibition on the

         collection, assessment or recovery of a claim against the debtor that arose prepetition, id

         § 362(a)(6); and (v) a requirement for the turn-over of property of the estate to the debtor in

         possession, see id. §§ 541-543. If AMZM were to fulfill the services specified in the Collateral

         Management Agreements on a post-petition basis: first, the Debtors would be deprived of their

         rights to act as a debtor in possession under Chapter 11 of the Bankruptcy Code, and second,

         AMZM would be in violation of the statutory protections granted to the Debtors, their estates,

         and their property set forth in Chapters 3 and 5 of the Bankruptcy Code. Accordingly, the

         Collateral Management Agreements are antithetical to the framework of Chapter 11 and must be

         rejected.

                   23.      Further, under the Collateral Management Agreements, contrary to the Debtors’

         goal to maximize value for all stakeholders, AMZM is directed only to “maximize the repayment

         of noteholders,”13 and further, is obligated to consult only with the “Controlling Party” or

         “Controlling Class”—which consists of, or represents the interests of, only a subset of the

         noteholders—in carrying out certain critical functions under the Collateral Management

         Agreements.

                   24.      AMZM’s duties under the Collateral Management Agreements are, thus, contrary

         to a fundamental purpose of the Bankruptcy Code—the maximization of estate value for the

         benefit of all stakeholders—and the policies and principles underlying specific provisions, such

         as §§ 363 and 365, that facilitate value maximization. See In re Caesars Entm't Operating Co.,

         Inc., No. 15-10047 (KG), 2015 WL 495259, at *5 (Bankr. D. Del. Feb. 2, 2015) (“[T]he

         overarching goal of chapter 11 [is] to maximize the value of the Debtors' estates for the benefit

         13
              See § 2.2(p) of the respective Collateral Management Agreements.


01:22963161.4
                                                                 14
                         Case 18-10512-CSS       Doc 8    Filed 03/12/18     Page 15 of 18



         of all stakeholders. . .”) (quoting In re Patriot Coal Corp., 482 B.R. 718, 739 (Bankr. S.D.N.Y.

         2012)); In re Integrated Res., Inc., 147 B.R. 650, 659 (Bankr. S.D.N.Y. 1992), citing In re

         Atlanta Packaging Prods., Inc., 99 B.R. 124, 130 (Bankr. N.D.Ga. 1988) (“It is a well-

         established principle of bankruptcy law that the objective of bankruptcy rules and the trustee's

         duty with respect to [section 363 sales] is to obtain the highest price or greatest overall benefit

         possible for the estate.”); see also In re Fin. News Network, Inc., 126 B.R. 152, 157 (Bankr.

         S.D.N.Y. 1991), aff’d sub nom. 980 F.2d 165, 169 (2d Cir.1992) (“A trustee maximizes value for

         creditors by selecting the “highest and best bid, and thereby protecting the interests of [the

         debtor], its creditors, and its equity holders.”); In re Big Rivers Elec. Corp., 233 B.R. 726, 734

         (Bankr. W.D. Ky.), aff’d, 233 B.R. 739 (W.D. Ky. 1998) (“It is beyond dispute that a Chapter 11

         DIP owes a fiduciary duty to all of the creditors and other interest holders of its bankruptcy

         estate to maximize the value of the bankruptcy estate.”).

                   25.   Section 105(a) of the Bankruptcy Code provides that: “The court may issue any

         order, process, or judgment that is necessary or appropriate to carry out the provisions of this

         title.”    11 U.S.C. § 105(a).   Courts have held that section 105(a) “supplements courts’

         specifically enumerated bankruptcy powers by authorizing orders necessary or appropriate to

         carry out provisions of the Bankruptcy Code” and “gives the court general equitable powers ...

         insofar as those powers are applied in a manner consistent with the Code.” In re Vaso Active

         Pharm., Inc., 514 B.R. 416, 421 (Bankr. D. Del. 2014); see also In re Joubert, 411 F.3d 452, 455

         (3d Cir. 2005) (“§ 105(a) is a powerful, versatile tool, but that . . . empowers bankruptcy courts

         and district courts sitting in bankruptcy to fashion orders in furtherance of Bankruptcy Code

         provisions.”). The Proposed Order directs that AMZM (A) cease exercising any rights with

         respect to property of the Debtors or their estates under the respective Collateral Management


01:22963161.4
                                                         15
                       Case 18-10512-CSS         Doc 8    Filed 03/12/18     Page 16 of 18



         Agreement, (B) return all of the Debtors’ books and records to the Debtors, and (C) execute and

         deliver all instruments and documents, and take such other actions as may be necessary or

         appropriate, as requested by the Debtors, to implement and effectuate the relief requested in this

         Motion. As outlined above, AMZM’s continued performance as a Collateral Manager is in

         derogation of a number of the provisions, and a fundamental purpose, of the Bankruptcy Code.

         Accordingly, section 105(a) of the Bankruptcy Code vests this Court with the authority to grant

         this relief, which is both consistent with and necessary to carry out the purposes of the

         Bankruptcy Code.

         C.     Nunc Pro Tunc Rejection of the Collateral Management Agreements is
                Appropriate.

                26.     It is well-established that “[a] bankruptcy court may ‘when principles of equity so

         dictate … approve [a motion] retroactive to the motion filing date’ …. The power to grant relief

         retroactively is derived from the bankruptcy’s equitable powers to insure a fair outcome.” In re

         TW, Inc., 2004 WL 115521 at *2 (D. Del. 2004). “An order granting relief nunc pro tunc is not a

         remedy that should be given as a matter of course, but only after a balancing of the equities in a

         particular case.” Id.

                27.     The facts in these Chapter 11 cases and the balance of the equities favor the

         Debtors’ rejection of the Collateral Management Agreements nunc pro tunc to the Petition Date.

         As noted above, under the facts and circumstances of these Chapter 11 cases, AMZM can

         provide no real value to the Debtors’ estates by continuing to perform under the Collateral

         Management Agreements. The immediate rejection of the Collateral Management Agreements

         as of the Petition Date will avoid accruing unnecessary fees and expenses payable to the

         Collateral Managers. In addition, rejection of the Collateral Management Agreements and the

         related relief requested in this Motion is necessary to advance the fundamental policies of the

01:22963161.4
                                                         16
                        Case 18-10512-CSS           Doc 8     Filed 03/12/18     Page 17 of 18



         Bankruptcy Code. This includes both vesting control over the Debtors’ assets fully in the

         Debtors, and promoting the maximization of value for the benefit of all of the Debtors’

         stakeholders, as opposed to the advancement of the parochial interests of particular

         constituencies.

                28.        Moreover, AMZM will not be unduly prejudiced if the Collateral Management

         Agreements are rejected effective as of the Petition Date because: (a) the Debtors are advising

         AMZM of the relief requested in this Motion contemporaneous with its filing; and (b) AMZM’s

         compensation is, generally speaking, on a time and expense basis and AMZM can control

         whether it incurs (or does not incur) additional fees that will not be paid if the Court approves the

         requested rejection of the Collateral Management Agreements nunc pro tunc to the Petition Date.

                29.        In light of the foregoing facts and circumstances, the Debtors respectfully submit

         that granting rejection of the Collateral Management Agreements and the related relief requested

         herein, under sections 105(a) and 365(a) of the Bankruptcy Code, nunc pro tunc to the Petition

         Date, is supported by a sound exercise of business judgment, necessary, prudent and in the best

         interests of the Debtors’ estates and stakeholders, and consistent with the fundamental policies

         and principles underlying the Bankruptcy Code. Accordingly, entry of the Proposed Order is

         appropriate.

                                                        NOTICE

                30.        Notice of this Motion has been or will be provided to: (i) the U.S. Trustee; (ii) the

         Office of the United States Attorney for the District of Delaware; (iii) the Internal Revenue

         Service; (iv) counsel to the Patriarch Entities; (v) counsel to U.S. Bank, as indenture trustee;

         (vi) counsel to Alvarez Marsal Zohar Management, LLC; (vii) counsel to MBIA Insurance

         Company; and (viii) counsel to certain holders of notes issued by Zohar III, Limited. In light of


01:22963161.4
                                                            17
                       Case 18-10512-CSS          Doc 8     Filed 03/12/18      Page 18 of 18



         the nature of the relief requested herein, the Debtors submit that no other or further notice is

         necessary.

                        WHEREFORE, the Debtors request entry of the Proposed Order, granting the

         relief requested herein and such other and further relief as is just and proper.

         Dated: March 12, 2018                      YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                                    /s/ Michael R. Nestor
                                                    James L. Patton, Jr. (No. 2202)
                                                    Robert S. Brady (No.. 2847)
                                                    Michael R. Nestor (No. 3526)
                                                    Joseph M. Barry (No. 4421)
                                                    Rodney Square
                                                    1000 N. King Street
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 571-6600
                                                    Facsimile: (302) 571-1253

                                                    Proposed Counsel to the Debtors




01:22963161.4
                                                          18
